  Case 4:20-cv-02098 Document 7 Filed on 07/12/20 in TXSD Page 1 of 10



                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

SEAN WHITE                                     §
                                               §    CIVIL ACTION NO. 4:20-CV-2098
Plaintiff                                      §
                                               §
VS.                                            §
                                               §
DISTRICT ON HIGHLAND VILLAGE                   §
LLC                                            §
                                               §
Defendant                                      §

                           FIRST AMENDED COMPLAINT

TO THE U.S. DISTRICT JUDGE:

       COMES NOW, Plaintiff SEAN WHITE and brings this cause of action against

DISTRICT ON HIGHLAND VILLAGE LLC, (“DISTRICT ON HIGHLAND

VILLAGE”). DISTRICT ON HIGHLAND VILLAGE LLC, controls, manages, and

leases the real estate, property, and improvements in Houston, Texas where a business

named Plants N Petals Garden Store operates. Mr. WHITE respectfully shows that the

Defendant’s real estate, property, and improvements at the location are not accessible to

individuals with mobility impairments and disabilities, in violation of federal law.



                                         I. CLAIM

       1.      Mr. WHITE, a person with a physical disability and mobility impairments,

brings this action for declaratory and injunctive relief, attorneys’ fees, costs, and

litigation expenses against Defendant for violations of Title III of the Americans with

Disabilities Act, 42 U.S.C. §§12181, et seq. (“ADA”), and its attendant regulations, the

Americans with Disabilities Act Accessibility Guidelines (“ADAAG”).



                                                                                            1
  Case 4:20-cv-02098 Document 7 Filed on 07/12/20 in TXSD Page 2 of 10



       2.      Defendant refused to provide Mr. WHITE and others similarly situated

with sufficient ADA-compliant parking in the parking lot that serves Plants N Petals

Garden Store. The Houston location does not provide any type of Disabled parking.

Based on these facts, DISTRICT ON HIGHLAND VILLAGE LLC, has denied Mr.

WHITE the ability to enjoy the goods, services, facilities, privileges, advantages, and

accommodations at Plants N Petals Garden Store.



                            JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. §1331 and §1343(a)(3) & (a)(4) for violations of the Americans with Disabilities

Act of 1990, 42 U.S.C. §12101, et seq.

       4.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), as the

events complained of occurred in Houston, Texas where Plants N Petals Garden Store is

located.



                                         PARTIES

       5.      Plaintiff SEAN WHITE is an Honorably-discharged, U.S. Army veteran

that completed multiple tours in Afghanistan. As a result of his service, Mr. White has

mobility impairments and traumatic brain injury (TBI). Mr. WHITE has a disability and

mobility impairments, as established by the Federal government and the Veteran’s

Administration. Mr. White has a disabled placard on his vehicle from the State of Texas.

Mr. WHITE has significant mobility impairments and uses assistive devices for mobility.

He is a “qualified individual with a disability” within the meaning of ADA Title III.

       6.      Defendant DISTRICT ON HIGHLAND VILLAGE LLC, owns, leases


                                                                                            2
  Case 4:20-cv-02098 Document 7 Filed on 07/12/20 in TXSD Page 3 of 10



out, and has control over the real estate, improvements, and building where Plants N

Petals Garden Store is situated. The address of Plants N Petals Garden Store is 3810

Westheimer Rd, Houston, TX 77027. As a retail store, the business is a place of public

accommodation, operated by a private entity, whose operations affect commerce within

the meaning of Title III of the ADA.

       7.     Defendant DISTRICT ON HIGHLAND VILLAGE LLC, is a domestic

limited liability company whose headquarters is 2652 East 45th St, Los Angeles, CA

90058. Defendant can be served process via their Registered Agent: Hakakian Ebrahim at

1 N Sampson, Houston, TX 77003.



                                       II. FACTS

       8.     Plants N Petals Garden Store is a business establishment and place of

public accommodation in Houston, Texas. Plants N Petals Garden Store is situated on

real estate, property, and improvements controlled, managed, owned, and leased out by

DISTRICT ON HIGHLAND VILLAGE LLC.

       9.     Plants N Petals Garden Store is not accessible to disabled individuals

because it has zero ADA-Compliant Disabled Parking spaces at its business.

       10.    Pictures taken at the location prove this:




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 Case 4:20-cv-02098 Document 7 Filed on 07/12/20 in TXSD Page 4 of 10




Plants N Petals Garden Store in Houston TX. No Disabled Parking.




Plants N Petals Garden Store in Houston TX. No Disabled Parking.




                                                                        4
 Case 4:20-cv-02098 Document 7 Filed on 07/12/20 in TXSD Page 5 of 10




Plants N Petals Garden Store in Houston TX. No Disabled Parking.




Plants N Petals Garden Store in Houston TX. No Disabled Parking.




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  Case 4:20-cv-02098 Document 7 Filed on 07/12/20 in TXSD Page 6 of 10




Plants N Petals Garden Store in Houston TX. No Disabled Parking.


       11.     The Plaintiff went to Plants N Petals Garden Store located at 3810

Westheimer Rd, Houston, TX 77027 in January of 2020.

       12.     In encountering and dealing with the lack of an accessible facility, the

Plaintiff experienced difficulty and discomfort. These violations denied the Plaintiff full

and equal access to facilities, privileges and accommodations offered by the Defendant.

Plaintiff has the intent to return to Plants N Petals Garden Store.

       13.     Additionally, on information and belief, the Plaintiff alleges that the

failure to remove the barrier was intentional because: (1) this particular barrier is intuitive

and obvious; (2) the Defendant exercised control and dominion over the conditions at this

location and, therefore, the lack of accessible facilities was not an “accident” because

Defendant intended this configuration; (3) Defendant has the means and ability to make



                                                                                              6
  Case 4:20-cv-02098 Document 7 Filed on 07/12/20 in TXSD Page 7 of 10



the change; and (4) the changes to bring the property into compliance are “readily

achievable.”

        14.     The Defendant’s Houston location does not have the required number of

ADA parking spaces. With 1-25 parking spaces, Defendant must have at least one ADA-

compliant Van Accessible space (96” Wide with 96” Side Access Aisle). This space

must be located close to the entrance of the business. See pictures above, and Exhibit 1.

        15.     There is no Van Accessible Disabled Parking in the parking area at the

entrance of Plants N Petals Garden Store in Houston, Texas.

        16.     The Americans with Disabilities Act (ADA), 42 U.S.C. §12101, has been

federal law for 30 years.



          III. CAUSE OF ACTION - VIOLATION OF THE AMERICANS
               WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12101


        17.     Plaintiff repleads and incorporates by reference, as if fully set forth again

herein, the allegations contained in all prior paragraphs of this complaint.

        18.     Under the ADA, it is an act of discrimination to fail to ensure that the

privileges, advantages, accommodations, facilities, goods and services of any place of

public accommodation is offered on a full and equal basis by anyone who owns, leases,

or operates a place of public accommodation. See 42 U.S.C. § 12182(a). Discrimination

is defined, inter alia, as follows:

                a.      A failure to make reasonable modifications in policies practices, or

        procedures, when such modifications are necessary to afford goods, services,

        facilities, privileges, advantages, or accommodations to individuals with

        disabilities, unless the accommodation would work a fundamental alteration of


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  Case 4:20-cv-02098 Document 7 Filed on 07/12/20 in TXSD Page 8 of 10



       those services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).

               b.     A failure to remove architectural barriers where such removal is

       readily achievable. 42 U.S.C. § 12182(b)(2) (A)(iv). Barriers are defined by

       reference to the ADAAG, found at 28 C.F.R., Part 36, Appendix “D.”

               c.     A failure to make alterations in such a manner that, to the

       maximum extent feasible, the altered portions of the facility are readily accessible

       to and usable by individuals with disabilities, including individuals who use

       wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to

       the altered area and the bathrooms, telephones, and drinking fountains serving the

       altered area, are readily accessible to and usable by individuals with disabilities.

       42 U.S.C. § 12183(a)(2).

       19.    Pursuant to 28 C.F.R., Part 36, Appendix D (herein after “1991

Standards”), section 4.1.2, and 36 C.F.R., Part 1191, Appendix B (herein after “2010

Standards”), section 208.2, if a business provides between 1 and 25 parking spaces, they

must provide at least one ADA-Compliant Van Accessible space (96” Wide with 96”

Side Access Aisle) near the business entrance. See Exhibit 1.

       20.     Here, the Defendant did not provide a sufficient number of ADA-

compliant parking spaces in its parking lot, although doing so is easily and readily done,

and therefore violated the ADA. This is a violation of the law and is discriminatory.



                              IV. RELIEF REQUESTED

Injunctive Relief

       21.     Mr. WHITE will continue to experience unlawful discrimination as a

result of Defendant’s refusal to comply with the ADA. Injunctive relief is necessary so he


                                                                                              8
  Case 4:20-cv-02098 Document 7 Filed on 07/12/20 in TXSD Page 9 of 10



and all individuals with disabilities can access the Defendant’s location equally, as

required by law, and to compel Defendant to repave and restripe the parking lot to be in

compliance with the ADA. Injunctive relief is also necessary to compel Defendant to

keep the property in compliance with federal law.



Declaratory Relief

          22.    Mr. WHITE is entitled to declaratory judgment concerning Defendant’s

violations of law, specifying the rights of individuals with disabilities to access the goods

and services at the Defendant’s location.

          23.    The facts are undisputed and Defendant’s non-compliance with the ADA

has been proven through on-site photographs. Plaintiff proves a prima facie case of ADA

violations by the Defendant.



Attorneys’ Fees and Costs

          24.    Plaintiff is entitled to reasonable attorneys’ fees, litigation costs, and court

costs, pursuant to 42 U.S.C. §12205.



                                 V. PRAYER FOR RELIEF

          THEREFORE, Mr. WHITE respectfully requests this Court award the following

relief:

          A. A permanent injunction, compelling Defendant to comply with the Americans

with Disabilities Act; and enjoining Defendant from violating the ADA and from

discriminating against Mr. WHITE and those similarly-situated, in violation of the law;

          B. A declaratory judgment that Defendant’s actions are a violation of the ADA;


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 Case 4:20-cv-02098 Document 7 Filed on 07/12/20 in TXSD Page 10 of 10



          C. Find that Mr. WHITE is the prevailing party in this action, and order

Defendant liable for Plaintiff’s attorneys’ fees, costs, and litigation expenses; and,

          D. Grant such other and additional relief to which Plaintiff may be entitled in this

action.



   DATED: JULY 12, 2020                         Respectfully,

                                        By:     /s/ R. Bruce Tharpe
                                                R. Bruce Tharpe

                                                LAW OFFICE OF
                                                R. BRUCE THARPE, PLLC
                                                PO Box 101
                                                Olmito, TX 78575
                                                (956) 255-5511 (Tel)

                                                ATTORNEY OF RECORD FOR
                                                PLAINTIFF SEAN WHITE




                                CERTIFICATE OF SERVICE

I, R. Bruce Tharpe, hereby certify that a true and correct copy of the foregoing pleading
was served upon all parties via email and email notification from the Southern District of
Texas ECF system on 7/12/2020.

                                                /s/ R. Bruce Tharpe
                                                  R. Bruce Tharpe




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